                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                NO: 3:04CR201

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                        ORDER
                                          )
VINTAGE PHARMACEUTICALS, INC.             )
WILLIAM PROPST, SR.,                      )
WILLIAM PROPST, JR., and                  )
QUALITEST PHARMACEUTICALS, INC.,          )
            Defendants.                   )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT on the Defendants’ “Motion to Intervene and

Quash Improper Grand Jury Subpoenas Duces Tecum” (Document No. 49) filed December 8, 2004;

the Government’s memoranda in opposition (Document Nos. 50 and 51) filed December 8 and 9,

2004; the Defendants’ Reply (Document No. 52) filed December 9, 2004; and the Government’s

Response to Vintage’s Reply (Document No. 53) filed December 10, 2004. The Court has been

informed that the subpoenas complained of by the Defendants have been withdrawn. Therefore, the

Court will deny the Defendants’ motion as moot.

       IT IS, THEREFORE, ORDERED that the Defendants’ “Motion to Intervene and Quash

Improper Grand Jury Subpoenas Duces Tecum” (Document No. 49) filed December 8, 2004, is

DENIED as MOOT.




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                                 Signed: May 18, 2006




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